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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

COX ENTERPRISES, INC.,

                                    Plaintiff,               COMPLAINT

                      -against-                            Docket No. _______

HISCOX INSURANCE COMPANY,                             JURY TRIAL DEMANDED

                                   Defendant.

         Plaintiff Cox Enterprises, Inc. (“CEI”), for its complaint for Breach of

Contract, Anticipatory Breach of Contract, Declaratory Judgment and Insurer Bad

Faith against Defendant Hiscox Insurance Company (“Hiscox”), alleges as

follows:

                                  NATURE OF THE ACTION

         1.       This action arises out of the bad faith failure and refusal of Hiscox to

honor its obligations under a Multimedia Liability Policy it issued to CEI (the

“Policy”). Hiscox agreed to insure, among other things, against losses arising out

of the media activities of CEI and its subsidiary, Cox Radio, Inc. (“Cox Radio”).

         2.       In 2016, Cox Radio, an employee of Cox Radio and a former

employee of Cox Radio were all named as defendants in a lawsuit filed in Florida

state court by Terry Bollea, better known as Hulk Hogan (“Bollea”), relating to



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their alleged dissemination of videos (and excerpts and transcripts thereof) (the

“Bollea Action”), for which CEI submitted a claim for insurance coverage to

Hiscox (the “Claim”) on May 5, 2016.

         3.       In a letter sent on January 21, 2020, Hiscox denied coverage for all

claims asserted by Bollea against Cox Radio and purported to withdraw numerous

communications (sent beginning on June 3, 2016) in which Hiscox had

acknowledged the potential for coverage and agreed to pay Cox Radio’s defense

costs once the Policy’s retention was exhausted.

         4.       In its January 21, 2020 letter, which Hiscox sent to CEI less than two

full days before a mediation between the parties was scheduled to occur, Hiscox

premised its denial on two grounds, both of which are entirely frivolous and

completely irreconcilable with the facts alleged by Bollea and the language of the

Policy.

         5.       Hiscox has not reimbursed CEI for any defense costs incurred by Cox

Radio in connection with the Bollea Action.

         6.       In this lawsuit, CEI seeks damages for Hiscox’s breach of its

contractual obligation to provide insurance coverage for the Claim, a declaration

that Hiscox is obligated to indemnify CEI for all future losses incurred in




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connection with the Claim, and extra-contractual damages for Hiscox’s bad faith

under O.C.G.A. § 33-4-6.

                                      THE PARTIES

         7.       CEI is a corporation organized under the laws of Delaware and has its

principal place of business in Georgia. At all relevant times, CEI owned more than

50% of Cox Radio.

         8.       Upon information and belief, Hiscox is an insurance company

organized under the laws of Illinois, with its principal place of business in Illinois.

                             JURISDICTION AND VENUE

         9.       This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the

parties are of diverse citizenship and the amount in controversy exceeds seventy-

five thousand dollars ($75,000), exclusive of interest and costs.

         10.      Venue in this District is proper under 28 U.S.C. § 1391(a) and (c)

because the events and omissions giving rise to the controversy occurred in this

District, and Hiscox transacts business and is subject to personal jurisdiction in this

District.




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                                            FACTS

         A.       The Policy

         11.      Hiscox sold CEI the Policy, US TNT Multimedia Liability Policy No.

US UAA 261.9952.11, with a policy period of December 1, 2011 to December 1,

2012.

         12.      The basic insuring clause for the Policy provides:

                  We will indemnify you for defense costs and damages
                  incurred as a result of a claim that falls within WHAT
                  HAS TO GO WRONG (Section II) under this policy,
                  WHAT WE WILL PAY (Section IV) under this policy,
                  and HOW MUCH WE WILL PAY (Section V) under
                  this policy.

(Hiscox Policy, § 1.)

         13.      To qualify for coverage, a claim must fall within the “What has to go

wrong” section of the Policy, which provides that the Policy covers

                  The performance of media activities by you or anyone
                  on your behalf during the policy period results in a claim
                  against you that arises from covered media or
                  advertising, regardless of when such claim is made or
                  where such claim is brought, and including but not
                  limited to any claim for any actual or alleged:

                                             ***

                  e. infliction of emotional distress or outrage;

                  f. breach of any duty of confidentiality, invasion of
                  privacy or violation of any other legal protections for
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                  personal information, including but not limited to false
                  light, intrusion upon a person’s seclusion, public
                  disclosure of a person’s private information,
                  misappropriation of a person’s picture, name, voice or
                  identity for commercial gain, or unauthorized
                  interception or recording of sound or data in violation of
                  a civil anti-wiretap statute;

                  l. negligent supervision of an employee, but only when
                  asserted in conjunction with and based on the same
                  factual allegations as a claim under (a) - (m).

                  m. any form of negligence (including any negligent act,
                  negligent error, negligent omission, negligent
                  misrepresentation, negligent misstatement, including
                  negligent transmission of a computer virus) but only
                  where arising from your media content disseminated in
                  covered media or advertising.

(Hiscox Policy, § II and Endorsement 1.)

         14.      The Policy defines “media activities” as

                  1. the gathering, acquisition, investigation, collection,
                  researching, creation and compilation of media content;
                  2. any broadcast, transmission, dissemination, telecast,
                  cablecast, syndication, serialization, podcast, streaming,
                  or production of media content;
                  3. any publication, republication, or dissemination of
                  media content including any special editions or
                  supplements to such media content;
                  4. any digital, online, or electronic dissemination of
                  media content;
                  5. the release, distribution, licensing, sale, lease, or
                  exhibition of media content. . . .

(Hiscox Policy, § VIII.)

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         15.      “‘Media content” is defined by the Policy as “the substance of any

communication of any kind whatsoever within covered media or advertising,

regardless of the nature or form of such ‘media content’ or the medium by which

such ‘media content’ is communicated, including but not limited to language, data,

facts, fiction, music, photographs, images, advertisements, artistic expression, or

visual or graphical materials.” (Id.)

         16.      “Covered media” is defined by the Policy as “All publications,

programming and other communications (but not including ordinary business

communications not directly related to the preparation, dissemination or promotion

of your multimedia products) produced or disseminated by you; including but not

limited to content of personal appearances by you and all content disseminated via

web sites owned or operated by you.” (Hiscox Policy at Declarations Page, § III.)

         17.      “Advertising” is defined by the Policy as “advertising, marketing,

publicity, or promotion of the insured’s, existing subsidiary’s, or acquired

entity’s own goods and services and of the goods and services of their clients.

(Hiscox Policy, Endorsement 1).

         18.       “You” and “Your” are defined by the Policy to include “the Insured,

any existing subsidiary,” and “any person who was, is or becomes . . . [an]

employee of the Insured [or] any existing subsidiary . . . but only in respect to

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claims arising out of the course and scope of their duties as such. . . .” (Hiscox

Policy, § VIII.)

         19.       “Existing subsidiary” is defined by the Policy to include “any entity

in which the Insured directly or indirectly owns more than 50% of the assets or

outstanding voting shares as of the first day of the policy period and if the revenue

is included on your application for this policy.” (Id.)

         B.        The Bollea Action

         20.       Bollea filed his initial complaint on May 2, 2016.

         21.       Bollea filed the current operative complaint, his second amended

complaint, on January 4, 2019 (the “SAC”).

         22.       In the SAC, Bollea asserts nine causes of action against Cox Radio

relating to an alleged conspiratorial effort among Cox Radio and its co-defendants,

which include current Cox Radio employee Michael Calta (“Calta”) and former

Cox Radio employee Matthew Loyd (“Loyd”), to disseminate videotaped

recordings (and excerpts, images and excerpts thereof) of sexual encounters

between Bollea and Heather Clem, the then-wife of Tampa radio personality

Bubba “The Love Sponge” Clem (“Clem”).

         23.       Bollea alleges that all of the named “Defendants repeatedly victimized

Bollea        by     obtaining,   using,   disclosing,   disseminating,   and   exploiting

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surreptitiously recorded and illegally obtained video footage of Bollea naked,

engaged in sexual activity, and having private conversations in a private bedroom

(the ‘Footage’).”

         24.      Bollea alleges that “[i]n March-April 2012, Defendants Loyd, Calta,

Cox Radio [and others] worked in concert and conspired to leak and sell

information about and excerpts from the Footage to TMZ and TheDirty.com.”

Thereafter, TMZ published a story about the Footage and TheDirty published

screen shots from and stories about the Footage.

         25.      Bollea alleges that “[i]n September-October 2012, these same

Defendants worked in concert and conspired to ‘anonymously’ send a DVD

containing some of the Footage to A.J. Daulerio, then-editor of Gawker.com—a

website notorious for posting salacious images of celebrities online in order to

destroy their careers—while intending and knowing that Daulerior would post the

Footage online.” Thereafter, Gawker posted a video showing excerpts of the

Footage.

         26.      In July 2015, the National Enquirer published a story quoting

excerpts from the footage of Bollea, which it described as coming from a court-

protected, confidential transcript. The transcript contained racist comments made




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by Bollea. Bollea alleges that “the actions of all of the Defendants set forth herein

substantially contributed to the Enquirer’s publication. . . .”

         27.      Calta was employed by Cox during the entire relevant period—and

continues to be employed by Cox. Bollea alleges that “[a]t all relevant times, Calta

was acting within the course and scope of his employment by Defendant, Cox

Radio, Inc.”

         28.      Loyd was employed by Cox when footage of the Bollea-Heather Clem

encounters was sent to Gawker. Bollea alleges that when employed by Cox Radio,

“Loyd . . . was acting within the course and scope of his employment by

Defendant, Cox Radio.”

         29.      Bollea further alleges that “[w]hile engaged in the misconduct alleged

herein, Calta and Loyd were acting within the course and scope of their

employment as ‘shock jocks’ for Cox, engaged in conduct of the kind they were

hired to perform, within the time and space limits of their employment, and while

motivated at least in part by a purpose to serve Cox.”

         30.      The nine causes of action asserted by Bollea against Cox Radio are as

follows: Invasion of Privacy (First Cause of Action); Invasion of Privacy by Public

Disclosure of Private Facts (Second Cause of Action); Invasion of Privacy by

Intrusion (Third Cause of Action); Intentional Infliction of Emotional Distress

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(Fourth Cause of Action); Intentional Interference with Contractual Relations

(Fifth Cause of Action); Violation of Florida’s Secure Communications Act,

Section 934.10 Florida Statutes (Sixth Cause of Action); Civil Conspiracy

(Seventh Cause of Action); Negligent Retention (Eighth Cause of Action);

Negligence (Ninth Cause of Action).

         31.      Cox Radio believes it has strong defenses to the claims asserted by

Bollea and at all times has vigorously defended itself in the Bollea Action.

         C.       The Claim Falls Squarely within the Coverage Provided by the

         Policy

         32.      All nine causes of action arise from the same set of operative facts, to

wit, the alleged involvement of Cox and its employees, Calta and Loyd, in various

disseminations of the unauthorized recordings of Bollea (and/or excerpts, images

or transcripts thereof).

         33.      For CEI’s Claim to fall within the coverage provided by the Hiscox

Policy, it must (1) arise from “media activities” by Cox Radio or anyone on its

behalf that (2) results in a claim that arises from either “covered media” or

“advertising.” The claims in the Bollea Action, and thus CEI’s Claim, arise from

media activities and both “covered media” and “advertising.”




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         34.      As noted above, the Policy defines “media activities” to include, inter

alia,     the     “gathering,    acquisition,   investigation,   collection,   researching,”

“compilation,” “transmission, dissemination,” “publication,” “digital, online, or

electronic dissemination,” or “release” of “media content.” The Claim satisfies the

definition of “media activities” because Bollea’s nine causes of action are all

premised on the assertion that the defendants victimized him by “obtaining, using,

disclosing, disseminating, and exploiting” the Footage. Bollea “seeks redress for

the damages and injuries caused by the Defendants’ use, disclosure, exploitation,

and public dissemination of the contents of the illegal recorded Footage.”

         35.      The Policy’s definition of “media content” includes the “substance of

any communication of any kind whatsoever.” The Footage, and the excerpts,

images and transcripts thereof, clearly satisfy this definition.

         36.      The Policy’s definition of “covered media,” includes “[a]ll . . .

communications             . . . disseminated by you.” As noted above, Bollea expressly

alleges that Cox Radio and Calta and Loyd—in the scope and course of their

employment at Cox Radio—disseminated the Footage.

         37.      The Policy’s definition of “advertising” includes “advertising,

marketing, publicity, or promotion of the insured’s . . . or acquired entity’s own

goods and services.” As Hiscox has acknowledged, “the complaint alleges that

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Calta and Loyd disclosed the videos to promote their broadcasts on a Cox radio

station.”

         C.       Notice of CEI’s Claim and Hiscox’s Initial Response

         38.      On May 6, 2016, CEI provided notice of the Claim to Hiscox.

         39.      On June 6, 2013, Hiscox issued a reservation-of-rights letter in which

it acknowledged that the Claim “arises out of the dissemination of certain videos of

Terry Bollea (a/k/a Hulk Hogan) engaged in sexual activity and making certain

allegedly certain racist statements.”

         40.      Hiscox also acknowledged in that letter that Bollea alleges that Cox

Radio disseminated the Footage through its “disclosure of the videos to other news

outlets—such               as   TMZ.com   and   Gawker.com—for     inclusion   in   their

programming.”

         41.      Hiscox also acknowledged in that letter that Bollea “alleges that Calta

and Loyd were acting within the scope of their employment with Cox and with the

knowledge of their superiors at Cox.”

         42.      Hiscox also acknowledged in that letter that the claims in the Bollea

Action might have arisen from the creation or dissemination of “advertising,” as

defined in the Policy.




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         43.      In that letter, Hiscox also acknowledged that the Policy is a “duty to

pay policy,” consented to Cox Radio’s choice of Kilpatrick Townsend & Stockton

LLP’s Tom Clyde as defense counsel, and promised that “Hiscox will pay defense

costs as incurred, once the $500,000 retention is exhausted.”

         D.       Hiscox Insistence on an Allocation, Refusal to Propose One, and
                  Failure to Pay Any Defense Costs
         44.      On July 11, 2017, CEI’s Becky Greenhill emailed Hiscox’s Tara

Bodden to inquire whether Hiscox still intended to pay defense costs once the

$500,000 retention was exhausted.

         45.      On July 20, 2017, Ms. Bodden responded to Ms. Greenhill in an email

in which she stated: “We will be reimbursing defense costs . . . . I will need to

look at allocation for non covered matters, but I need to take a peek at the

complaint.”

         46.      Later that day, Ms. Greenhill responded to Ms. Bodden in an email in

which she stated: “We will look forward to hearing your thoughts on allocation, so

that we can let our Media group know what to expect regarding reimbursement.”

         47.      On August 22, 2017, Ms. Bodden responded to Ms. Greenhill in an

email in which she stated: “No issue with allocation at this point.”

         48.      Later that day, Ms. Greenhill responded to Ms. Bodden in an email in

which she stated: “Ok – thanks for confirming full defense coverage at this point.”
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         49.      On March 19, 2018, Hiscox sent CEI a letter in which Hiscox stated:

“We understand that Cox has recently exhausted the retention through the payment

of defense costs. In light of this and the development of the claim, we believe it is

appropriate to discuss allocation of further defense costs.” Hiscox did not propose

an allocation or even identify in its March 19, 2018 letter which claims asserted in

the Bollea Action it believed might not be covered.

         50.      On April 19, 2018, CEI responded to Hiscox’s March 19, 2018 letter

with a letter in which Cox stated: “Since Cox does not agree that this claim

presents a situation of covered and noncovered matters, Cox also does not agree

with Hiscox’s views on allocation.”

         51.      On April 18, 2019, a telephone conference was held among

representatives from CEI and Hiscox. On this call, CEI reiterated its position that

100% of the Claim should be covered by Hiscox and requested that Hiscox

disclose its specific position.

         52.      On April 30, 2019, Hiscox’s then-outside counsel sent a letter stating

that Hiscox “acknowledges that some of the allegations may fall within the scope

of coverage” and made the “request that Cox engage in discussions to reach

agreement to an appropriate allocation of defense costs.” The April 30, 2019 letter




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did not propose an allocation or even identify which claims asserted in the Bollea

Action it believed might not be covered.

         53.      On October 17, 2019, CEI’s outside counsel sent a letter to Hiscox’s

then-outside counsel stating that “we simply do not see any portion of the Claim

not being covered under the Hiscox Policy such that Hiscox may invoke the

policy’s allocation provision” and “request[ing] that Hiscox, in accordance with

the terms of the Hiscox Policy, immediately indemnify Cox Radio for the defense

costs it has incurred to date in the Bollea Action. As Hiscox has been advised, Cox

Radio has incurred approximately $1.6 million in defense costs in the Bollea

Action, which far exceeds the Hiscox Policy’s self-insured retention.”

         54.      On December 27, 2019, CEI’s outside counsel sent Hiscox’s then-

outside a counsel an email asking for “Hiscox’s position on allocation as soon as

possible.”

         55.      On December 31, 2019, Hiscox’s then-outside counsel sent a letter to

CEI’s outside counsel stating that “Hiscox’s position is the same as it has been for

years—that it is happy to discuss and come to an agreement over a reasonable

allocation.” The December 31, 2019 letter did not propose an allocation or even

identify which claims asserted in the Bollea Action it believed might not be

covered.

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         56.      To date, Hiscox has not paid any of Cox Radio’s defense costs.

         D.       Hiscox’s Change in Counsel

         57.      On January 13, 2020, CEI learned that Hiscox had hired a new law

firm to provide it with outside counsel in connection with the Claim.

         D.       Hiscox’s Belated and Groundless Denial

         58.      A scheduled mediation between CEI and Hiscox was held on January

23, 2020.

         59.      At 6:55 p.m. on January 21, 2020, Hiscox’s new outside counsel sent

CEI’s outside counsel a letter in which Hiscox, for the very first time, denied

coverage for the Claim. The January 21, 2020 letter stated that it “shall replace

and supersede all prior communications.”

         60.      In the January 21, 2020 letter, Hiscox denied coverage on two

grounds.

         61.      First, Hiscox denied coverage on the stated grounds that while “the

Bollea Footage was . . . disseminated by Loyd and/or through Calta,” the “Second

Amended Complaint contains NO allegations that Cox ever acquired, collected,

compiled, disseminated, or in any way publicly disclosed the Bollea Footage.”

         62.      Second, Hiscox denied coverage on the stated grounds that “as the

dissemination of the Bollea Footage did not promote Cox’s interests or programs,

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any media activities allegedly performed by Cox or on behalf of Cox did not arise

from covered media or advertising as defined by the Policy.”

         63.      Both grounds for denial stated in the January 21, 2020 letter are

frivolous and directly at odds with the explicit allegations in the SAC and the clear

language of the Policy.

         64.      Hiscox’s first claimed basis for denial—that “Second Amended

Complaint contains NO allegations that Cox ever acquired, collected, compiled,

disseminated, or in any way publicly disclosed the Bollea Footage”—is frivolous

for two reasons.

         65.      First, the SAC explicitly alleges that Cox Radio, with the other

Defendants, “repeatedly victimized Bollea by obtaining, using, disclosing,

disseminating, and exploiting surreptitiously recorded and illegally obtained

footage of Bollea naked, engaged in sexual activity, and having private

conversations in a private bedroom (the ‘Footage’).” The SAC further alleges that

Cox Radio, with the other Defendants, “worked in concert and conspired to leak

and sell information about and excerpts from the Footage to TMZ and

TheDirty.com” and to “‘anonymously’ send a DVD containing some of the

Footage to” Gawker.




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         66.      Second,   the   Policy   defines   “covered    media”    to   include

“communications . . . disseminated by you” and defines “You” to include all

employees of Cox Radio in acting “the course and scope of their duties as such.”

Hiscox has acknowledged that Calta and Loyd are alleged to have disseminated the

Footage and that such actions were allegedly taken in the course and scope of their

employment for Cox Radio.

         67.      Hiscox’s second claimed basis for denial—that “as the dissemination

of the Bollea Footage did not promote Cox’s interests or programs, any media

activities allegedly performed by Cox or on behalf of Cox did not arise from

covered media or advertising as defined by the Policy”—is also frivolous for two

reasons.

         68.      First, Hiscox does not cite any language in the Policy stating that a

dissemination can only arise from “covered media” or “advertising” if it serves to

“promote Cox’s interests or programs,” because that supposed requirement is a

mere figment of Hiscox’s imagination.

         69.      Second, in any event, Hiscox has acknowledged that Bollea “alleges

that Calta and Loyd disclosed the videos to promote their broadcasts on a Cox

radio station.”




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                               FIRST CAUSE OF ACTION
                                  (Breach of Contract)

         70.      CEI repeats and realleges the allegations set forth in paragraphs 1

through 69 of this Complaint as if fully set forth herein.

         71.      CEI has complied with all terms, conditions, and prerequisites to

coverage set forth in the Policy and remains ready to perform all of its obligations

under the Policy.

         72.      Pursuant to the terms of the Policy, Hiscox is obligated to indemnify

CEI for all sums that Cox Radio has paid or has or will become obligated to pay in

connection with the Claim, including the costs of Cox Radio’s defense.

         73.      Hiscox has breached its obligations under the Policy by denying

coverage and refusing to indemnify CEI for the costs incurred by Cox Radio in

defending itself in the Bollea Action once the Policy’s $500,000 retention was

exhausted.

         74.      As a result of Hiscox’s breach of its obligations under the Policy, CEI

has suffered and continues to suffer damages in an amount to be determined at

trial.




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                             SECOND CAUSE OF ACTION
                            (Anticipatory Breach of Contract)

         75.      CEI repeats and realleges the allegations set forth in paragraphs 1

through 74 of this Complaint as if fully set forth herein.

         76.      CEI has complied with all terms, conditions, and prerequisites to

coverage set forth in the Policy and remains ready to perform all of its obligations

under the Policy.

         77.      Pursuant to the terms of the Policy, Hiscox is obligated to indemnify

CEI for all sums that Cox Radio has paid or has or will become obligated to pay in

connection with the Claim, including the costs of Cox Radio’s defense.

         78.      Hiscox has anticipatorily breached its obligations under the Policy by

denying coverage and refusing to indemnify CEI for all sums that Cox Radio that

will and may become obligated to pay, including the costs of Cox Radio’s defense

and the amount of any settlement payment or judgment.

         79.      As a result of Hiscox’s anticipatory breach of its obligations under the

Policy, CEI will suffer damages in an amount to be determined at trial.

                               THIRD CAUSE OF ACTION
                                 (Declaratory Judgment)

         80.      CEI repeats and realleges the allegations set forth in paragraphs 1

through 79 of this Complaint as if fully set forth herein.

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         81.      CEI has complied with all terms, conditions, and prerequisites to

coverage set forth in the Policy and remains ready to perform all of its obligations

under the Policy.

         82.      Pursuant to the terms of the Policy, Hiscox is obligated to indemnify

CEI for all sums that Cox Radio has paid or has or will become obligated to pay in

connection with the Claim, including the costs of Cox Radio’s defense.

         83.      By denying coverage, Hiscox has disputed and not honored this

obligation.

         84.      By reason for the foregoing, an actual and justiciable controversy

exists between CEI and Hiscox regarding Hiscox’s duty to pay defense costs and

damages.

                               FOURTH CAUSE OF ACTION
                           (Insurer Bad Faith – O.C.G.A. § 33-4-6)

         85.      CEI repeats and realleges the allegations set forth in paragraphs 1

through 84 of this Complaint as if fully set forth herein.

         86.      The Claim is covered by the Policy.

         87.      A demand for payment was made by CEI more than 60 days prior to

the filing of this Complaint.

         88.      Hiscox’s denial of coverage and failure to pay was motivated by bad

faith.
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         89.      As a result of Hiscox’s bad faith under the Policy, CEI has suffered

and will suffer damages in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

         WHEREFORE, CEI respectfully requests that the Court enter a judgment:

                  (a)      Awarding CEI damages against Hiscox in an amount to be

determined at trial;

                  (b)      Declaring that Hiscox is obligated to indemnify CEI for all

sums that Cox Radio has paid or may become obligated to pay in connection with

the Claim, including Cox Radio’s defense costs;

                  (c)      Awarding CEI all damages available under O.C.G.A. § 33-4-6,

including statutory penalties and attorneys’ fees, in an amount to be determined at

trial;

                  (d)      Awarding CEI all reasonable costs incurred by CEI as a

consequence of having to prosecute this action, including attorneys’ fees, as well

as pre-judgment interest and post-judgment interest; and

                  (d)      Granting CEI such other and further relief as the Court deems

just and proper.

                                     Jury Trial Demanded

         CEI demands a trial by jury on all Counts so triable.

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Dated: January 28, 2020               Respectfully submitted,

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